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“APPENDIX A”

¢_ State Court Petition and Summons

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IN THE DISTRICT COURT (I)E-" RE£I*UBI ,IC COUN'£`Y, KANSAL§EPUT {
Kim I~Iolloway, )
Plaintiff, l §
vs. § flame No. 19 CV /&Q

NESIKA Energy, L.L.C. §
De§endant. §

n {Proceecling$ pursuant to Chapter 60) )

PE'§`I']"§{)?\'

§

COMES NOW, Kim Ho]loway, Plainiifl", by and throu¢)h her attomeys, I-Iamp£c)n & Rc)yce,
L.C., and for her cause ofaction against Defendan 11 N l £Sl_i<l\/\ li.nc):g,y, L.L.C. {“NESIKA”) states and
alleges as follows:

1. K.im I“Iolloway (“Kim”) is a resident of the Slatc of Kansas Witl'x an address of 399
M Slr¢ef, Bellevii§e, Kansas 66935.

2. NESIK.A is a domestic limited liability company and may be served Wil'h process by
delivering a copy of the Summons and Petitiun al 'P.O. ]Br)x §69, Scandia, Kansas 66966.

3. Kim fried 21 zimer complaint with the l'lqual l-imploymenl Oppc):'luniiy Commission
(“EEOC”), Chz:rge No. 28D-20(}9»OG763.

4. 013 or about Aug;ust 30, 201{}, Ki§n receivch a Notice of Dismissal and Nolicc of

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Right providing her right to sne. A copy elT that i\lotiee is attached as iixhibit “r- ” hereto and
incorporated herein

5. Kim has exhausted her required administrative remedies prior to bringing this action
against NESIKA.

6. i<'.ini worked as an operator for N'§Sii<_/\ lfront l‘vlareh 2008 until lieblnary 2009.

7. Knn received an exemplary employee evaluation during the Novernber 2003
employee evaluation period

S. On Oetober lS, 2003, Kim was stricken with thrombosis in her right forearm
requiring her to be hospitalized and undergo emergency surgery I<`_im was hospitalized until
Noveniber 6, 2008. lt is believed that this injury may have resulted from an impact injtny she
suffered while Worlting at NESIKA. l

9. NBSIKA’B Employee Hanclboolc indicated thatNl"£S`lKA opted into FMLA coverage
by stating that family medical leave time Wonid be addressed on a ease by case basis.

iO. NESIKA sent a letter to Kirn on Nevcrnber l, 2008, which stated “yon Will be placed
on medical leave for a period of time not to exceed 90 days.”

ll. Kizn relied on these representations by 'NIEZSIKA regarding family medical leave

12. A'l`ter significant therapy, Kim’s health improved to the point that she Was able to
return to worl<. ln fact on January 9, 2009, an occupational therapist and a physical therapist went
with-Kirn to NESIKA to evaluate her ability to perform herjob functions

13. Kim’s doctor in Belleviiie Kansas, l)r. Cayle Goertzen, sent NESIKA a letter en
Jannary 27, 2009, indicating that Kim Was ready for work with minimal accommodations required

14. Kirn returned to work on January 28, 2009, but was immediately confronted by her

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'sn;,iervisor7 Andy l~lill, regarding her ability to complete her _io‘o tasks

15. l\/lr. l~lill interrogated Kim on her ability to compietc her work duties without having
another incident of thrombosis l\/lr. l~`iill pressured Kirn to take more time off l"roro work until she
was able to work without being injured again

16. Kim indicated to l\/lr. l~Iill that she was capahie of pcr§orming herjob tasks without
significant accommodations and had proven her ability to work with the physical therapist and
occupational therapist on January 9, 2009.

17. Even though Kirn established that she was not disabled and was able to perform the
job requirements she was terminated on Fehrnary 4, 2009, due to her perceived disability

Count l
Amerieans with })isabilities Act

l 8. After Kim suffered her inj ory, Kiin was harassed and mistreated doe to her perceived
disability in violation of the Americans with Disa'oiiities Act.

19. As a result ot" her injuries, I<lim either suffers from a “disahility” or is perceived to
sul.`fer hom a “disability" as defined by the Americans with Disahilities Act.

.?,O. Kirn is possessed ot`a physical impairment that snbstantialiy iimits one or more ol`-
her major life activities; and/or was regarded as having sech impairment

21. Speciticaiiy, Kim Was perceived to bc unable to work and was also perceived to be
susceptible to future injury while on the job.

22. Kim is a qualified individual in that she was able to perform the essential functions
of her work with NESIKA With or without reasonable accommodations

23. NIESIKA intentionally discriminated against l(im by demanding that she take time

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off ‘l"rorn work to recover aad ultimately teniiieating tier and replacing her ivitli a person not
perceived to have a disability

24. NES§KA terminate{i Kim as a result other disa§)iiity and in retaliation lfor her time
off item worl<.

Count ll
Family l\/lcdieal lreave Act

25. NESIKA voitmtarily provided l?amiiy Medical lleave Aet benefits to its employees
as indicated in its Eiriployee Handboolc and letters to Kim. l

26, Kirn had a “serious health condition” as defined by tire lil\/lLA, from aa injury size
suffered on approximately Octo`ber 15, 2003

27. I<lim gave NES]KA sufficient infonnation regarding her Seriotis medical condition
starting October 15, 2008. n

.'2.3. Pursuant to the FMLA, Kirn Was entitled to reinstatement upon her return to Work.

29. Beeause Kim availed herself to the protection afforded to her under the ieave
provisions of the FMLA, NES§KA retaiiated and uitimately terminated Kim.

30. NESIKA retaliated against I{im as a result o'l" her lil\/ILA qualifying absence and as
such NESIKA violated the FMLA prohibition against retaliation against an employee 'l"or taking
FMLA quaiiliecl leave under 29 USC 26¥5(£1)(1).

31 NESIKA’$ filing of Kim violated the interference provisions of the lil\/ILA.

32. As an approximate result ofNESlKA terminating lier, Kim’s reputation as a faithful
and diligent employee has been damaged; and it has become difl'iex.llt, i'l" not impossible '1"or her to

obtain employment in a position comparable to her position with NRSIKA at the time she was

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terminated As a i'est:lt, Kim has been daniaged, hereby sustaining great economic loss as Weii as
humiliation and eanarrassmentl

33. Kint’s thing by NESIKA has imposed embarrassment, ltnzniliatioa and emotional
distress upon K,im, 'l"or Which NESIKA is responsible to Kim l`or damages 'l"or emotional distress

Count Ill
Workers’ Compcnsat'ion i{etaliation

34. At the time of her termination by NliSll~i/\, it was believed that her thrombosis
was a result of an inqu suffered at worl{.

35. Upon learning of the possibility of a work related injury lor Whioh Kim could file
a claim for Worl<ers compensation NESIKA tenniaated l<'.im to prevent a workers compensation
claim from being filed

36. As a proximate result of her termination, Kirn's reputation as a faithful and
diligent employee has been damaged and she has sustained humiliation and embarrassment for
which she claims damages for emotional distress

WI-IEREFORE, Kim prays forjudgment against i\ll'".SilC/\ in excess of $75,000.0() tort

(a) Baelc pay and the value of hinge benefits from the date of her iiring;

(b) Compensatory damages to place her in her rightfni position;

(c) Damages for linmiliatioa and ernbarrassment;

(d) Attorney fees, costs of this action as well as all other relief the Court deems just

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Nathanaei liter§,/ ll2l2201l, of
I-IAMPTON a ttovci=., I,.C.
119 W. lrort, Ninth l“`loor
P.G. Box 124”?

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Attorneys for l<lirn l.lollO\-vay

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`l'o: Kim Hoiioway From: St. Louls District Orfice
300 taft Street Rot)ort A, Young Btdg
Bcl|eville, KS 66935 1222 Sprucc Sl:, Rm 8.1€}8

Saint l_ouis, NIU 63103

Or: behalf ofporson{s} aggrieved Whose locality is
CONF!DENT!AL {29 CFR §1601.7(8)}

 

t‘-,“.EZ€)C Charge No, EEC)C Reprosarrtatlve Telephone No.
J_oseph J. Wi!eor:,
28[]-2009-06763 lnve$tigafor _ (314} 539-7816

 

_ (Sce also the additionai information enc!osed With this form.)
Norrce 'ro THE PERsou Aooraeveo:

Titfe Vll of the Civi! Rights Act of 1954, the Americans with Blsabilities Act (ADA}, or the Geoetic information Nondiscr§mination
Act {GtNA): "`§”his is your Noticc of R§ght to Sue, issued under Tit|c V!l, the AEJA or GlNA based on the above~numberect charge lt has
been issued at your request Your tawsutt under Tlt|e Vll. the ADA or GINA must be filed in a federal or state court WE'E'l-HN 90 DAYS
of your receipt of this ootice; or your right to sue based on this charge will be lost. (The time llrnlt for tilan suit based on a claim under
state law may be different)

N|ore than 180 days have passed since the filing of this charge

l.ess than 180 days have passed since the t“lllcg of this chargez but t have determined that it is uoilkely that the EEOC will
be ohio to complete itc administrative processing within 180 days from the filing of this charga,

The E§Z(JC is terminating its processing of this charge

EH [lH

The EEOC witt continue to process this oharge.

Ago Discrirnination to Ernploymont Act {AE}EA}: Yoo may sue underthe ADEA at any time from 60 days arter the charge was filed unfit
90 days after you receive notloe that we have comp§eted action ors the chargo. ln this regard the paragraph marked betow applies to
your case:

“l“ho EEOC ls closing your case. Therefore, your lawsuit under the ADEA most be filed in federal or state court Wl't'HlN
90 DAYS of your receipt of this Notice. Otharwlse, your right to sue based on the above-numbered charge witt he lost

l:l

The EEOC is continuing §ts handling of your ADEZA case. Howe\rer, if 60 days have passed since the filing of the charge,
yca may the suit tn federal or state court under the ADEA at this time.

E'.qual Pay Act (EPA): You already have the right to sue tender the EF‘A (t'rllng an EEGC charge is riot requlrod.) EPA suits must he brought
n federal or state court within 2 years (3 years for wiflful vlolot§ons) of fha alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 years §3 yearsl before you tile suit may not be eol!ectible.

fyou file sult. based oh this charge please send a copy of your court complalntto this ot‘§cc.

 

On behalf ortho Commlssi n
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Enclosures(s) Jan‘aas R. Nee£y’ my \-.__». mate Malled) `
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lN TH}E DESTRICT C‘.OURT Ol" IU`;`]"UJ?»I ,lC. COUN'TY, KANSAS

 

Kim l~lolloway, )
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vs_ } Casc: 'No. 10 CV /Z€
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NESII(.A Encrgy, L.L.C. )
)
De'fendani‘. )
)
(Proceedings pursuant to Chapter 60) -
SUMMQ§_\’_\S:
To thc-Al;)ovc-Namcd l)e'fcndant: NESIKA lEncr;.j,y, 1..{,.€.
P.{). Box 169
Scandia Kanszzs 66966

You are hereby summoned to defend 311 action brought in the District Court of `.Rc])ublic
County, Kansas, and are required to serve upon Nalhanar:l Bm'g, P]ainti'l"l“s attorncy, at l~lampton &
Royce, L.C., Uzzii'ed Building, Niu'£h Flooz‘, l 19 Wcst lynn Avcuuc, P. O. 1503 _124'7, Sullna, Kmnsas
6'_?4{)2~»1247, a pleading to the Petitic)n Which is herewith scrde upon you, Within £Wenty-enc (21)
days after gem/ice of this Summons upon you, exclusive ul" 316 day of scz'vice. lf you fail 10 do so,

judgment by default Will be taken against you '50;‘ the relief demanded in the Petjtic)n. `Your pleading

also must be filed Wilh the Clerlc in chublic Coumy, Kuusu.<;. /\s provided in subsection (a) 01`

K.S.A. 60~?.13, and amendmenis lhercto, your f\ns\-vc:r must umw as a Countcrclaim amy rolanch

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